Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 1 of 25 PageID: 6




                              Exhibit A
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 2 of 25 PageID: 7



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

CPM CONSULTING, LLC and                            §
MARTINO RIVAPLATA,                                 §
                                                   §
       Plaintiffs,                                 §
                                                   §
v.                                                 §    CIVIL ACTION NO. _________________
                                                   §
CAPSUGEL US, LLC,                                  §
                                                   §
       Defendant.                                  §

             LIST OF DOCUMENTS ATTACHED TO NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. § 1446(a), the following documents are attached to the Notice of

Removal filed herein:

       Exhibit          Document Name                              Date Filed

       A-1              Docket Sheet – State Court                 10/18/2017 (print date)

       A-2              Plaintiff’s Original Petition              10/2/2017

       A-3              Civil Case Information Sheet               10/2/2017

       A-4              Enter Demand for Jury                      10/2/2017

       A-5              Citation                                   10/4/2017




LIST OF DOCUMENTS ATTACHED TO NOTICE OF REMOVAL                                          PAGE 1
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 3 of 25 PageID: 8



DATED: November 6, 2017                              Respectfully submitted,

                                                     /s/ Talley R. Parker
                                                     Talley R. Parker
                                                     State Bar No. 24065872
                                                     talley.parker@jacksonlewis.com
                                                     JACKSON LEWIS P.C.
                                                     500 N. Akard, Suite 2500
                                                     Dallas, Texas 75201
                                                     Telephone: (214) 520-2400
                                                     Fax: (214) 520-2008

                                                     ATTORNEYS FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

       On November 6, 2017, I electronically submitted the foregoing document with the Clerk

of Court for the U.S. District, Northern District of Texas, using the electronic case filing system

of the Court. I hereby certify that I have served all counsel of record electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2), including by certified mail,

return-receipt requested, as follows:

       Steven E. Clark
       sclark@dfwlaborlaw.com
       Clark Firm PLLC
       10000 N. Central Expressway, Suite 400
       Dallas, Texas 75231
       Tel.: 214-890-4066
       Fax: 214-890-4013

                                                     /s/ Talley R. Parker_______________
                                                     Talley R. Parker




LIST OF DOCUMENTS ATTACHED TO NOTICE OF REMOVAL                                             PAGE 2
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 4 of 25 PageID: 9




                             Exhibit A-1
 Case 2:19-cv-16579-KSH-CLW FELICIA
                             Document
                                    PITRE,1-1  Filed
                                          DISTRICT   11/06/17 Page 5 of 25 PageID: 10
                                                   CLERK

                                                 DOCKET SHEET
                                                CASE No. DC-17-13492
CPM Consulting, LLC et al                                                                Location: 95th District Court
vs.                                                                               Judicial Officer: MOLBERG, KEN
Capsugel US, LLC                                                                         Filed on: 10/02/2017


                                                      CASE INFORMATION

                                                                                       Case Type: EMPLOYMENT


                                                     PARTY INFORMATION
                                                                                                          Lead Attorneys
PLAINTIFF           CPM Consulting, LLC                                                               CLARK, STEVEN EUGENE
                                                                                                                        Retained
                                                                                                               214-890-4066(W)

                    Rivaplata, Martino                                                                CLARK, STEVEN EUGENE
                                                                                                                       Retained
                                                                                                               214-890-4066(W)

DEFENDANT           Capsugel US, LLC

   DATE                                       EVENTS & ORDERS OF THE COURT                                          INDEX

 10/02/2017    NEW CASE FILED (OCA) - CIVIL

 10/02/2017     •    ORIGINAL PETITION


 10/02/2017    VI ISSUE CITATION
                    9214 8901 0661 5400 0113 2458 13

 10/02/2017    fl CASE FILING COVER SHEET


 10/02/2017    ▪     JURY DEMAND
                    Party: PLAINTIFF CPM Consulting, LLC

 10/04/2017    CITATION
               Capsugel US, LLC
               Unserved
               CERT MAIL / BH

 10/04/2017    NOTE - ADMINISTRATOR
                 Set for initial dismissal (service/default): November 30, 2017. Notice faxed to counsel. .

               DISMISSAL FOR WANT OF PROSECUTION (9:00 AM) (Judicial Officer: MOLBERG,
 11/30/2017
               KEN)
   DATE                                                   FINANCIAL INFORMATION

               PLAINTIFF Rivaplata, Martino
               Total Charges                                                                                              423.00
               Total Payments and Credits                                                                                 423.00
               Balance Due as of 10/18/2017                                                                                 0.00

  10/02/2017   Charge                                                      PLAINTIFF Rivaplata, Martino                   423.00
  10/02/2017   CREDIT CARD - Receipt # 64450-2017-DCLK                     PLAINTIFF Rivaplata, Martino                  (423.00)
               TEXFILE (DC)




                                                            PAGE 1 OF I                                         Printed on 10/18/2017 at 1:31 PM
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 6 of 25 PageID: 11




                                                                1      OCT )', 1 2017 ,'
                                                                 BY:




                              STATE OFTEXAS                1
                              COUNTYF DALLAS
                                              CicJi,c of the District
                              I, FELICIA WEE, i;c.,,rtli'y
                                                                          of Dallas County,
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                                                  FELICIA MIRE, DISTRICT
                                                  DAL       COUNTY
                                                                                     _Deputy
                                                  BY
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 7 of 25 PageID: 12




                             Exhibit A-2
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 8 of 25 PageID: 13                                        FILED
                                                                                                          DALLAS COUNTY
                                                                                                         10/2/2017 12:00 AM
1 CT-CERT-MAIL                                                                                               FELICIA PITRE
                                                                                                          DISTRICT CLERK


                                                  DC-17-13492                                     Freeney Anita
                                    CAUSE NO.

   CPM CONSULTING, LLC and                               IN THE DISTRICT COURT
   MARTINO RIVAPLATA,
        Plaintiffs,
                                                       D-95TH
   v.                                                              JUDICIAL DISTRICT

   CAPSUGEL US, LLC,
        Defendant.                                       DALLAS COUNTY, TEXAS

                               PLAINTIFFS' ORIGINAL PETITION

           Plaintiffs CPM Consulting, LLC ("CPM") and Martino Rivaplata ("Rivaplata,"

   collectively with CPM, "Plaintiffs") file this Original Petition against Capsugel US, LLC

   ("Capsugel") seeking recovery for tortious interference with a contract formed in the state of Texas

   and violations of the New Jersey Law Against Discrimination, N.J.S.A. 10:5-12. In support of

   these claims, Plaintiffs respectfully show the Court the following:

                                          I. INTRODUCTION

          Plaintiffs intend that a "Level 2" Discovery Control Plan govern this action in accordance

   with Texas Rule of Civil Procedure 190.3.

          Pursuant to Texas Rule of Civil Procedure 47, Plaintiffs seek monetary relief over

   $100,000.00 including damages of any kind, penalties, costs, expenses, pre judgment interest, and

   attorneys' fees.

                                           II. THE PARTIES

   1.     Plaintiff CPM is a limited liability company, duly formed and existing under the laws of

   the State of Florida, with a principal place of business in Texas.

   2.     Plaintiff Rivaplata is the sole member of CPM and a resident of the State of Texas.

   3.     Defendant Capsugel is a Delaware corporation having a principal place of business in New

   Jersey. Capsugel may be served with process by and through its registered agent Corporation



   Plaintiffs' Original Petition                                                                Page 1
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  Service Company d!b/a CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite

  620, Austin, Texas 7870L

                                  III. JURISDICTION AND VENUE

  4.      Subject-matter jurisdiction is proper in this Court because the amount in controversy is

  within the Court's jurisdictional threshold.

  5.      Defendant Capsugel is a multinational biopharmaceutical company that manufactures and

  sells products throughout the world, including the state of Texas. Capsugel is subject to general

  personal jurisdiction in the State of Texas because its activities in this state are of a continuous and

  systematic nature. Capsugel has engaged in business in the State of Texas and has sufficient

  minimum contacts with Texas as to justify the Court's jurisdiction over it. Furthemiore, such

  jurisdiction over Capsugel does not offend the notions of fair play and substantial justice.

  6.      In accordance with Section 15.001, et seq. of the Texas Civil Practice & Remedies Code,

  venue is proper in this Court because the events or omissions giving rise to Plaintiffs' cause of

  action occurred in whole or in part in Dallas County, Texas.

                                            IV. THE FACTS

  7.      Rivaplata, by and through his company CPM, executed a Subcontract Services Agreement

  (Agreement) with Robert Half Technology on or about April 3, 2017 to provide Capsugel with a

  SAP HANA Data Modeler (the "Project").

  8.      Rivaplata was informed that the project would last 6 months +, which in the industry means

  a minimum of one year, which was reflected in the Work Schedule attached to the Agreement. In

  reliance on the Agreement, Rivaplata temporarily relocated to New Jersey and leased an apartment

  for one year in order to perform the work on the project for Capsugel. Rivaplata received nothing

  but positive feedback on his work product from those at Capsugel while at the project.




  Plaintiffs' Original Petition                                                                   Page 2
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  9.      Rivaplata is a citizen of the United States of America who resides in the State of Texas.

  CPM has its principal place of business located in Dallas, Dallas County, Texas. Rivaplata is the

  owner and sole member of CPM.

  10.     Rivaplata's work for Capsugel was managed by Capsugel employee Muralidhar

  Nuggehalli. Upon information and belief, Nuggehalli is an Indian national.

  11.     Without explanation, on June 14, 2017, Rivaplata was advised by Nuggehalli that his

  services would be terminated effective June 30, 2017—three months before the 6-month+ Project

  completion date. Rivaplata was later instructed to transition the project to three Capsugel

  employees believed to be from India: Venugopal Nair, Muppaneni Karunankar, and Yokesh

  Sivakumar.

  12.     Capsugel unlawfully discriminated in terminating Rivaplata and CPM from the Project on

  the basis of his nationality (United States) in favor of three Indian nationals in order to outsource

  the work and achieve cheaper labor costs.

  13.     The Capsugel IT department consists almost entirely of Indian Nationals with only a small

  percentage of American IT workers.

  14.     Based on the foregoing, Plaintiffs bring the following claims for violations of the New

  Jersey Law Against Discrimination and tortious interference with CPM's contract with Robert

  Half.

                                V. CLAIMS AGAINTS CAPSUGEL

               COUNT ONE: TORTIOUS INTERFERENCE WITH CONTRACT

  15.     Plaintiffs hereby incorporate and re-allege the matters set forth in the preceding paragraphs

  as if set forth at length.




  Plaintiffs' Original Petition                                                                Page 3
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 11 of 25 PageID: 16




   16.     CPM and Robert Half Technology executed a Subcontract Services Agreement in the State

   of Texas for the purpose of having CPM and Rivaplata perform IT services for Capsugel. In

   reliance on the Agreement, Plaintiff temporarily relocated from his workplace in Texas to the

   project site in New Jersey in order to provide services pursuant to the Agreement, and leased an

   apartment for a period of one year based on the 6 months+ project length.

   17.     Capsugel's decision to terminate CPM and Rivaplata from the Project was a willful and

   intentional act of interference with the Subcontract Services Agreement that was the proximate

   cause of Plaintiffs losing a minimum of $84,480.00 in income for the last three months of the

   Project, plus rental obligations on the apartment lease for one year, for which he sues to recover

   of and from Capsugel.

   COUNT TWO: VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

   18.     Plaintiffs hereby incorporate and re-allege the matters set forth in the preceding paragraphs

   as if set forth at length.

   19.     This court has general personal jurisdiction over Capsugel. Rivaplata as the owner of CPM

   brings this claim for violations of the New Jersey Law Against Discrimination Act, N.J. Stat. Ann.

   § 10.5-5, et seq., which occurred while he was a Texas resident temporarily working for Capsugel

   in New Jersey. Capsugel's actions resulted in the termination of CPM's subcontractor agreement

   with Robert Half -- a contract negotiated and executed in the State of Texas, which caused loss of

   income damage to CPM and Rivaplata in the State of Texas.

   20.     Rivaplata belongs to a protected class because of his nationality (United States citizen).

   21.     Rivaplata was qualified for the consulting work he was hired to perform for Capsugel. He

   performed the work adequately and received nothing but praise on his work product while working

   at the project.




   Plaintiffs' Original Petition                                                                Page 4
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 12 of 25 PageID: 17




   22.     Capsugel intentionally terminated Plaintiff from the Project three months before its

   minimum scheduled completion date, despite excellent work performance, so that it could

   transition the Project to three Capsugel employees from India, who had cheaper labor rates than

   Plaintiff The termination was due to Rivaplata's nationality (United States), and Capsugel's

   intentional decision to outsource his work to foreign nationals. As reported by 60 Minutes, this is

   a common practice among IT companies.

   23.     The foregoing allegations are sufficient to state a prima facie claim of discrimination under

   the New Jersey Law Against Discrimination. In addition, upon information and belief, employees

   of Capsugel, including those of Indian ancestry, have a pattern or practice of discriminating against

   U.S. citizens employed to do IT work at Capsugel projects in the United States by outsourcing

   their jobs to employees in India, or persons of Indian descent.

   24.     Plaintiff Rivaplata has suffered and sustained substantial injury by reason of Capsugel's

   unlawful discrimination for which he seeks appropriate judicial relief including, but not limited to,

   the recovery of actual and special monetary damages (including compensatory and consequential

   damages), back pay, front pay, rental expenses, interest, attorneys' fees in and court costs in a sum

   within the jurisdictional limits of the Court.

                          VI. ATTORNEYS' FEES AND COSTS OF COURT

   25.     Plaintiffs hereby incorporate and reallege the matters set forth in the preceding paragraphs

   as if set forth at length.

   26.     Plaintiffs have retained the undersigned attorneys to represent it in this action and have

   agreed to pay them reasonable and necessary attorneys' fees.

   27.     Plaintiffs hereby seek an award of their reasonable and necessary attorneys' fees incurred

   in the trial court and any and all appeals therefrom.




   Plaintiffs' Original Petition                                                                Page 5
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                                         VII. JURY DEMAND

   28.    Plaintiffs respectfully request a trial by jury on their claims against Capsugel.

                                            VIII. PRAYER

          Plaintiffs respectfully requests that upon trial this Court enter a judgment in favor of

   Plaintiffs against Capsugel providing for the following relief:

   1.     An award of their actual and special damages as pleaded herein, including front pay, back

  pay, reinstatement, and all compensatory, exemplary, consequential, and economic damages

  within the jurisdictional limits of the Court;

   2.     Plaintiffs' reasonable attorney's fees;

  3.      Plaintiffs' costs of Court;

   4.     Pre-judgment and post judgment interest at the highest rate(s) allowed by law;

   5.     Such other and further relief, at law or in equity, to which Plaintiffs may be entitled.




  Plaintiffs' Original Petition                                                                 Page 6
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 14 of 25 PageID: 19




                                    Respectfully submitted,




                                    Steven E. Clark
                                    State Bar No. 04294800

                                    CLARK FIRM PLLC
                                    10000 N. Central Expressway, Suite 400
                                    Dallas, Texas 75231
                                    Tel.: (214) 890-4066
                                    Fax: (214) 890-4013
                                    Email: sclark@dfwlaborlaw.com

                                    ATTORNEYS FOR PLAINTIFF
                                    MARTINO RIVAPLATA and
                                    CPM CONSULTING, LLC




   Plaintiffs' Original Petition                                             Page 7
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 15 of 25 PageID: 20




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                                                                  BY:-------------




                            STATE OF TEXAS
                            COUNTY OF DALLAS
                              FELICIA MIRE, Clerk of the District of Dallas County,
                            Texas, do hereby corilfy that I have compared this Instrument
                            to b a true and correct copy of the original as appears on
                            record in my office.
                            GIVEN UNDER< Y HAND AND SEAL of said Court, at office
                            In Dallas, 1Laxas, this k RA-kday of _C3c_A • ,
                                                FELICIA PITRE, DISTRICT CLERK
                                                DA       COUN
                                                By     c                            Deputy
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 16 of 25 PageID: 21




                              Exhibit A-3
    Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 17 of 25 PageID: 22

                                                               CIVIL CASE INFORMATION SHEET
           CAUSE NUMBER (FOR CLERK USE ONLY):                                                                    COURT (FOR CLERK USE ONLY):
              STY LED CPM CONSULTING, LLC and MARTINO RIVAPLATA v. CAPSUGEL US, LLC
                                 (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
 A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
 health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
 the time of filing.

1. Contact information for person completing case information sheet:                   Names of parties in case:                                    Person or entity completing sheet is:
                                                                                                                                                   ETAttorney for Plaintif6Petitioner
Name:                                      Email:                                      Plaintiff(s)/Petitioner(s):                                 OPro Se Plaintiff/Petitioner
                                                                                                                                                   OTitle IV-D Agency
    Steve Clark                           sclark@dfwlaborlaw.eom                        CPM Consulting, LLC                                        DOther:

Address:                                   Telephone:                                   Martino Rivaplata
                                                                                                                                                   Additional Parties in Child Support Case:
 10000 N. Central Expy. #400                   (214) 890-4066
                                                                                       Defendant(s)/Respondent(s):                                 Custodial Parent:
City/State/Zip:                            Fax:
                                                                                         CAPSUGEL US, LLC
 Dallas, TX 75231                                 214 853-5458                                                                                     Non-Custodial Parent:

S                                          State Bar No:
                                                                                                                                                   Presumed Father:
                                      ,----04294800
                                                                                       [Attach additional page as necessary to list all parties]

2. Indicate case type, or identify he most important issue in the case (select only 1):
                                              Civil                                                                                            Family Law
                                                                                                                                                        Post-judgment Actions
          Contract                         Injury or Damage                        Real Property                           Marriage Relationship           (non-Title IV-D)
Debt/Contract                         DAssault/Battery                       DEminent Domain/                             ['Annulment                 DEnforcement
  OConsumer/DTPA                      DConstruction                             Condemnation                              0 Declare Marriage Void     DModification—Custody
  DDebt/Contract                      ODefamation                            OPartition                                   Divorce                     DModification—Other
  0Fraud/Misrepresentation            Malpractice                            DQuiet Title                                    OWith Children                   Title IV-D
  DOther Debt/Contract:                DAccounting                           ['Trespass to Try Title                         ONo Children            DEnforcement/Modification
                                       ['Legal                               DOther Property:                                                        OPaternity
Foreclosure                            ['Medical                                                                                                     DReciprocals (UIFSA)
   ['Home Equity—Expedited             ['Other Professional                                                                                          ['Support Order
   DOther Foreclosure                     Liability:
['Franchise                                                                      Related to Criminal
DInsurance                            DMotor Vehicle Accident                          Matters                                Other Family Law                   Parent-Child Relationship
OLandlord/Tenant                      OPremises                              DExpunction                                   ['Enforce Foreign                   DAdoption/Adoption with
0Non-Competition                      Product Liability                      ['Judgment Nisi                                  Judgment                            Termination
OPartnership                            DAsbestos/Silica                     DNon-Disclosure                               DHabeas Corpus                      DChild Protection
00ther Contract:                        DOther Product Liability             DSeizure/Forfeiture                           OName Change                        ['Child Support
                                           List Product:                     DWrit of Habeas Corpus—                       OProtective Order                   OCustody or Visitation
                                                                                Pre-indictment                             DRemoval of Disabilities            DGestational Parenting
                                      DOther Injury or Damage:               DOther:                                          of Minority                      OGrandparent Access
                                                                                                                           00ther:                             OParentage/Patemity
                                                                                                                                                               DTermination of Parental
                                                                                                                                                                  Rights
         Employment                                                Other Civil
                                                                                                                                                               DOther Parent-Child:
VI Discrimination                     OAdministrative Appeal               OLawyer Discipline
ORetaliation                          DAntitrust/Unfair                    ['Perpetuate Testimony
['Termination                            Competition                       OSecurities/Stock
DWorkers' Compensation                ['Code Violations                   XTortious Interference
DOther Employment:                    0Foreign Judgment                    00ther:
                                      [Intellectual Property

             Tax                  I                                                             Probate & Mental Health
 OTax Appraisal                       Probate/Wills/Intestate Administration                              OGuardianship—Adult
 OTax Delinquency                        ODependent Administration                                        OGuardianship—Minor
 ['Other Tax                             DIndependent Administration                                      ['Mental Health
                                        ['Other Estate Proceedings                                        ['Other:

3. Indicate procedure or remedy if applicable (may select more than .1):
 DAppeal from Municipal or Justice Court                    ODeclaratory Judgment                                  OPrejudgment Remedy
 DArbitration-related                                       OGaMishment                                            [Protective Order
 OAttachment                                                DInterpieader                                          OReceiver
 OBill of Review                                            DLicense                                               ['Sequestration
 DCertiorari                                                OMandamus                                              DTemporary Restraining Order/Injunction
 ['Class Action                                             DPost-judgment                                         OTumover
4. Indicate damages sought (do not select if it is a fan ly law case):
 ['Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 ElLess than $100,000 and non-monetary relief
 DOver $100, 000 but not more than $200,000
 Dover $200,000 but not more than $1,000,000
 Dover $1,000,000
                                                                                                                                                                                 Rev 2/13
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 18 of 25 PageID: 23




                                                             FeZEVZ1111
                                                             II OCT 2 2017 ID
                                                             BY:




                             STATE OF TEXAS
                             COUNTY OF DALLAS
                             I, FELICIA PITRE, Clerk of the District of Dallas County,
                             Texas, do heFeby certify that I have compared this Instrument
                             to be a true and correct copy of the original as appears on
                             record in my ofilce.
                             GWEN UNDER MY HAND AND SEAL of sold Court, at office
                             In Dallas, Texas, this k RALk day or —e-sCA      , A.D., c  GM -
                                                FELICIA PITRE, DI            LERK
                                                DA       COUN , TEXAS
                                                By    Q           4 -u•-              Deputy
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 19 of 25 PageID: 24




                              Exhibit A-4
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 20 of 25 PageID: 25




                                            FELICIA PITRE
                                DALLAS COUNTY DISTRICT CLERK

   NINA MOUNTIQUE
   CHIEF DEPUTY




                                 CAUSE NO. DC-17-13492



                                 CPM Consulting, LLC et al

                                                   vs.

                                       Capsugel US, LLC



                                      95th District Court



                         ENTER DEMAND FOR JURY
                                     JURY FEE PAID BY: P

                                       FEE PAID: $40.00




                     600 COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                          FAX (214)653-7781 E-mail: Felicia.Pitre@dallascounty.org
                          Web site: http://www.dallascounty.org/distclerk/index.html
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 21 of 25 PageID: 26




                                                                        r     e I
                                                                              OAT 2017

                                                                           BY: ---------




                         STATE OF TEXAS
                         COUNTY OF DALLAS
                         L FELICIA PITRE, CIlrk of the District of Dallas County,
                         Texas, do hfmoby          that I have e.,impared this Instrument
                         to b a truo        con-ect copy of the- original as appears on
                         mord In my oefic.
                         Gl'qi.,:74 UNDER MY HAND AN D SEAL of ^Id Court, at office
                         In Dallas, Texas, this  u`     day of C\ ,         A.D.,
                                             FELICIA PITRE, DISTRIC CLERK
                                            DA       COUPS
                                            By    Q61,V-1                           Deputy
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 22 of 25 PageID: 27




                              Exhibit A-5
               Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 23 of 25 PageID: 28




FORM NO. 353-3 - CITATION                                                                                          CERT MAIL

THE STATE OF TEXAS                                                                                                CITATION
To:
        CAPSUGEL US, LLC
                                                                                                                 DC-17-13492
        REGISTERED AGENT CORPORATION SERVICE COMPANY DBA CSC-LAWYERS
        INCORPORATING SERVICE COMPANY
        211 E 7TH STREET SUITE 620
                                                                                                           CPM CONSULTING, LLC et al
        AUSTIN TX 78701
                                                                                                                     vs.
                                                                                                              CAPSUGEL US, LLC
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be             ISSUED THIS
taken against you. Your answer should be addressed to the clerk of the 95th District Court at 600            4th day of October, 2017
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                FELICIA PITRE
                                                                                                              Clerk District Courts,
Said Plaintiff being CPM CONSULTING, LLC AND MARTINO RIVAPLATA
                                                                                                              Dallas County, Texas
Filed in said Court 2nd day of October, 2017 against

CAPSUGEL US, LLC                                                                                        By: BELINDA HERNANDEZ, Deputy

For Suit, said suit being numbered DC-17-13492, the nature of which demand is as follows:
Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation. If              Attorney for Plaintiff
this citation is not served, it shall be returned unexecuted.                                               STEVEN EUGENE CLARK
                                                                                                            10000 N CENTRAL EXPWY
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                       SUITE 400
Given under my hand and the Seal of said Court at office this 4th day of October, 2017.                         DALLAS TX 75231
                                                                                                                   214-890-4066
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas

                        By                                            Deputy
                              B LINDA HERNANDEZ
                                                                                                                       CONSTABLE
                                                                                                         ALLFEESMINTYFEES NOT
                                                                                                                               PAID
                                                                                                             PAID
                   Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 24 of 25 PageID: 29




                                                                          OFFICER'S RETURN
Case No. : DC-17-13492

Court No.95th District Court
Style: CPM CONSULTING, LLC et al
VS.

CAPSUGEL US, LLC

Came to hand on the                        day of                         , 20           , at                o'clock         .M. Executed at
within the County of                                    at                  o'clock             .M. on the                   day of
20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was                miles and my fees are as follows: To certify which witness my hand.


                                For serving Citation          $
                                For mileage                   $                                  of                     County,

                                 For Notary                   $                                  By                                            Deputy

                                                                  (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                    before me this          day of                            , 20

to certify which witness my hand and seal of office.




                                                                                                Notary Public                         County
Case 2:19-cv-16579-KSH-CLW Document 1-1 Filed 11/06/17 Page 25 of 25 PageID: 30




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                                                                      BY: _----__o___-




                             STATE OF TEXAS
                             COUNTY OF DALLAS
                                                                      of Dallas County,
                             1, FELICIA PITRF., Clark of the DIstrlct
                                                             hpla. compared fills Instrument
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                                                                         said Court, at office
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                              In Dallas, ions, this k R4-1--,dry
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                                                                 of           ,
                                                  FELICIA PITRE, DISTRICT CLERK
                                                  DAL     COUr9r-TECAS—
                                                                                       Deputy
                                                 By      APIVI6V)1A.42
